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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA

 ATS TREE SERVICES, LLC,

                        Plaintiff,

         v.

 FEDERAL TRADE COMMISSION; LINA M.
 KHAN, in her official capacity as Chair of the
 Federal Trade Commission; and REBECCA                              No. 2:24-cv-01743-KBH
 KELLY SLAUGHTER, ALVARO BEDOYA,
 ANDREW N. FERGUSON, and MELISSA
 HOLYOAK, in their official capacities as
 Commissioners of the FTC,

                        Defendants.


                             NOTICE OF SUPPLEMENTAL AUTHORITIES

       Plaintiff ATS Tree Services, LLC (“ATS”) respectfully submits this Notice of Supplemental

Authorities in connection with its Motion to Stay Effective Date and for Preliminary Injunction

(Doc. 10). On July 3, 2024, the U.S. District Court for the Northern District of Texas in Ryan LLC

v. FTC, No. 3:24-cv-00986 (N.D. Tex.) entered an opinion and order granting the plaintiffs’ motion

for preliminary injunction and to stay the effective date of the Federal Trade Commission’s

(“FTC”) Final Rule banning non-compete agreements. See Ex. A. The Court held that the plaintiffs

were likely to succeed on the merits of their argument that the FTC lacks substantive rulemaking

authority for unfair methods of competition, see id. at 19, and that the Final Rule was arbitrary and

capricious. Id. at 23. Further, the court held that the plaintiffs would be irreparably harmed because

they would incur nonrecoverable compliance costs. Id. at 26-27. Finally, the court held that the

merged public interest and equities factors weighed in plaintiffs’ favor. Id. at 28. For these reasons,

the Court preliminarily enjoined enforcement of the Final Rule against the plaintiffs and stayed

the Rule’s effective date as limited in a forthcoming order. Id. at 32.

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       Also, on June 27, 2024, the U.S. Supreme Court issued a relevant opinion in Ohio v. EPA,

in which it stayed enforcement of an EPA rule pending the disposition of applicants’ petitions for

review. See Ex. B. After reciting the four Nken factors courts consider when deciding whether to

grant a stay, the Court stated that when “parties seek to stay the enforcement of a federal regulation

against them, often ‘the harms and equities [will be] very weighty on both sides.’” Id. at 10

(alteration in original) (citation omitted). One of the harms alleged by the applicants included costs

of “complying with the [rule] during the pendency of this litigation,” and the Court noted those

costs “are ‘nonrecoverable.’” Id. at 11 (citations omitted). Because “each side ha[d] strong

arguments about the harms they face and equities involved, [the Court’s] resolution of these stay

requests ultimately turn[ed] on the merits and the question who is likely to prevail at the end of

this litigation.” Id. (citations omitted). And because the applicants were likely to succeed on the

merits, the Court granted the stay.

       ATS respectfully requests the Court consider these new decisions when ruling on the

pending motion.

       DATED: July 3, 2024.

                                                           Respectfully submitted,

                                                           s/ Sean Radomski
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                                           Attorneys for Plaintiff



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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 3, 2024, I electronically filed the foregoing with the Clerk of

the United States District Court for the Eastern District of Pennsylvania using the CM/ECF system,

which sent notifications of such filing to all registered CM/ECF users.

       DATED: July 3, 2024.

                                                              /s/ Sean Radomski
                                                              SEAN RADOMSKI




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